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                IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

ALFRED DEWAYNE BROWN,                      §
        Plaintiff                          §
                                           §
                                           §
VS.                                        §     CIVIL ACTION NO.
                                           §        4:17-CV-01749
                                           §
CITY OF HOUSTON, TEXAS;                    §
HARRIS COUNTY, TEXAS;                      §
BRECK MCDANIEL;                            §
TED C. BLOYD;                              §
AND D.L. ROBERTSON,                        §
          Defendants                       §

                  REPLY TO NOTICE OF NEW CASE LAW
       Plaintiff Brown has filed a notice of an April Fifth Circuit opinion as a

supplement to his original brief seeking to bring Dan Rizzo back into the lawsuit

(Docket Entry 119 and 123)(DE). See Singleton v. Cannizzaro, 2020 WL 1922377

(April 21, 2020). The Singleton opinion is factually distinct from the instant case.

       Brown alleges former ADA Dan Rizzo pressured witnesses “outside the

judicial context,” as alleged in the Singleton case. Singleton deals with a Louisiana

DA office’s rampant use of wholly fake, unlawful subpoenas to intimidate

witnesses. The Fifth Circuit found that use of false “subpoenas” violated specific

Louisiana state law and were outside the judicial process as part of the Supreme

Court’s functional approach test. Singleton, at *4, citing to Burns v. Reed, 500


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U.S. 478, 486 (1991) and Buckley v. Fitzsimmons, 509 U.S. 259, 273 (1993). The

Supreme Court’s test distinguishes between (1) actions taken “in preparing for the

initiation of judicial proceedings or for trial, and which occur in the course of [the

prosecutor’s] role as an advocate for the State,” and (2) “administrative duties and

those investigatory functions that do not relate to an advocate’s preparation for the

initiation of a prosecution or for judicial proceedings.” Buckley, 509 U.S. at 273;

Singleton, at *4. In Buckley, much like Singleton, prosecutors allegedly fabricated

evidence during the initial investigation. Buckley, at 261.

      The issuance of subpoenas is, by its nature, a technical function performed

by the court—not a prosecutor. A subpoena’s purpose is to investigate case facts,

and the physical issuance of subpoenas in Louisiana can never be done by a

prosecutor, and can never be considered part of a prosecutor’s role advocating for

the state. Further, the fabrication of subpoenas violates a clear and unambiguous

Louisiana statute.

      There are no allegations that Rizzo fabricated evidence or documents and his

alleged actions did not violate any bright-line Texas statute. Perhaps most

importantly, all of Rizzo’s alleged actions occurred in furtherance of his role as a

prosecutor, which is very different from the prosecutors in Singleton who

undertook to falsify a ministerial investigative process. Rizzo remains protected by

absolute immunity, which “is not limited ‘only to the act of initiati[ng judicial


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proceedings] itself and to conduct occurring in the courtroom,’ but instead includes

all actions ‘which occur in the course of [the prosecutor’s] role as an advocate of

the State.’ ” Cousin v. Small, 325 F.3d 627, 632 (5th Cir. 2003)(per curiam)(quoting

Buckley, at 272-73). Singleton does not change this court’s analysis or Supreme

Court precedent on absolute immunity.


                                       Respectfully submitted,



                                       /S/ Suzanne Bradley
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                      CERTIFICATE OF CONFERENCE

        Defendant’s counsel contacted Plaintiff’s counsel on May 1, 2020 to discuss
the filing of our Reply to Notice of New Case Law and she was not opposed.


                                              /s/ Suzanne Bradley
                                              SUZANNE BRADLEY
                                              Assistant County Attorney




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                       CERTIFICATE OF SERVICE

      I certify that on the 4th day of May 2020, a true and correct copy of the
foregoing document was delivered to all counsel of record via the CM/ECF system
and served by electronic notice to all parties of record.

                                           /s/ Suzanne Bradley
                                           SUZANNE BRADLEY
                                           Assistant County Attorney




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